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 7                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
 9   MARIO D. CHORAK, DMD, P.S., individually
     and on behalf of all others similarly situated,
10                                                        No.
                                            Plaintiff,
11                                                        COMPLAINT-CLASS ACTION
            v.
12                                                        JURY DEMAND
     HARTFORD CASUALTY INSURANCE
13   COMPANY,
14
                                        Defendant.
15

16
                                       I.        INTRODUCTION
17
            Plaintiff, MARIO D. CHORAK, DMD, P.S. (“CHORAK”), individually and on behalf
18
     of all other similarly situated members of the defined national class (the “Class Members”), by
19

20   and through the undersigned attorneys, brings this class action against Defendant Hartford

21   Casualty Insurance Company (“Hartford” or “Defendant”) and alleges as follows based on

22   personal knowledge and information and belief:
23
                                II.     JURISDICTION AND VENUE
24
            1.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness
25
     Act of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship
26


     CLASS ACTION COMPLAINT- 1                                         K E L L E R R O H R B AC K    L.L.P.
                                                                           1201 Third A venue, Suite 3200
                                                                              Seattle, W A 98101-3052
                                                                           TELEPHONE: (206) 623-1900
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     from Defendant, there are 100 or more Class members nationwide, and the aggregate amount in
 1

 2   controversy exceeds $5,000,000. The Court has supplemental jurisdiction over Plaintiff’s state

 3   law claims under 28 U.S.C. § 1367.

 4          2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(3) because the
 5
     Court has personal jurisdiction over Defendant, a substantial portion the alleged wrongdoing
 6
     occurred in this District and the state of Washington, and Defendant has sufficient contacts with
 7
     this District and the state of Washington.
 8
            3.      Venue is proper in the Western District of Washington pursuant to 28 U.S.C.
 9

10   § 1391(b)(2) because a substantial part of the events or omissions giving rise to the claims at

11   issue in this Complaint arose in this District. Plaintiff’s businesses are located in Seattle, King
12   County. This action is therefore appropriately filed in the Seattle Division because a substantial
13
     portion of the events giving rise to this lawsuit arose in King County.
14
                                              III.    PARTIES
15
            4.      Plaintiff, Mario D. Chorak, DMD, P.S., is an orthodontic business with locations
16
     at 14300 SE Petrovitsky Road, Renton, Washington, and 3022 78th Avenue SE, Mercer Island,
17

18   Washington.

19          5.      Defendant Hartford Casualty Insurance Company is an insurance carrier

20   incorporated and domiciled in the State of Indiana, with its principal place of business in
21
     Hartford, Connecticut.
22
                                     IV.     NATURE OF THE CASE
23
            6.      Due to COVID-19 and a state-ordered mandated closure, Plaintiff cannot provide
24
     dental orthodontic services. Plaintiff intended to rely on its business insurance to keep its
25

26   business as a going concern. This lawsuit is filed to ensure that Plaintiff and other similarly-


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     situated policyholders receive the insurance benefits to which they are entitled and for which
 1

 2   they paid.

 3           7.      Defendant Hartford issued one or more insurance policies to Plaintiff, including

 4   Spectrum Business Owners Policy and related endorsements, insuring Plaintiff’s property and
 5
     business practice and other coverages, with effective dates of June 27, 2019 to June 27, 2020.
 6
             8.      Plaintiff’s business property includes property owned and/or leased by Plaintiff
 7
     and used for general business purposes for the specific purpose of dental orthodontics and other
 8
     business activities.
 9

10           9.      Defendant Hartford’s insurance policy issued to Plaintiff promises to pay

11   Plaintiff for “direct physical loss of or physical damage to” to covered property.
12           10.     Defendant Hartford’s insurance policy issued to Plaintiff includes Business
13
     Income Coverage, Extra Expense Coverage, Extended Business Income Coverage and Civil
14
     Authority Coverage.
15
             11.     Plaintiff paid all premiums for the coverage when due.
16

17           12.     On or about January 2020, the United States of America saw its first cases of

18   persons infected by COVID-19, which has been designated a worldwide pandemic.

19           13.     In light of this pandemic, Washington Governor Jay Inslee issued certain
20   proclamations and orders affecting many persons and businesses in Washington, whether
21
     infected with COVID-19 or not, requiring certain public health precautions. Among other
22
     things, Governor Inslee’s “Stay Home, Stay Healthy” order required the closure of all non-
23
     essential businesses, including Plaintiff’s business.
24

25           14.     By order of Governor Inslee, orthodontists including Plaintiff were prohibited

26   from practicing orthodontics but for urgent and emergency procedures.


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            15.      Plaintiff’s property sustained direct physical loss and/or damage related to
 1

 2   COVID-19 and/or the proclamations and orders.

 3          16.      Plaintiff’s property will continue to sustain direct physical loss or damage

 4   covered by the Hartford policy or policies, including but not limited to business interruption,
 5
     extra expense, interruption by civil authority, and other expenses.
 6
            17.      Plaintiff’s property cannot be used for its intended purposes.
 7
            18.      As a result of the above, Plaintiff has experienced and will experience loss
 8
     covered by the Hartford policy or policies.
 9

10          19.      Upon information and belief, Hartford has denied or will deny all similar claims

11   for coverage.
12                              V.      CLASS ACTION ALLEGATIONS
13          20.      This matter is brought by Plaintiff on behalf of itself and those similarly situated,
14
     under Federal Rules of Civil Procedure 23(b)(1), 23(b)(2), and 23(b)(3).
15
            21.      The Classes that Plaintiff seeks to represent are defined at this time as:
16
                     A.     Business Income Breach of Contract Class: All persons and entities in
17

18          the United States insured under a Hartford policy with Business Income Coverage who

19          suffered a suspension of their practice at the covered premises related to COVID-19

20          and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities
21
            and whose Business Income claim was denied by Hartford.
22
                     B.     Business Income Declaratory Relief Class: All persons and entities in
23
            the United States insured under a Hartford policy with Business Income Coverage who
24
            suffered a suspension of their practice at the covered premises related to COVID-19
25

26          and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities.


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                   C.      Extended Business Income Breach of Contract Class: All persons and
 1

 2         entities in the United States insured under a Hartford policy with Extended Business

 3         Income Coverage who suffered a suspension of their business at the covered premises

 4         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
 5
           other civil authorities and whose Extended Business Income claim was denied by
 6
           Hartford.
 7
                   D.      Extended Business Income Declaratory Relief Class: All persons and
 8
           entities in the United States insured under a Hartford policy with Extended Business
 9

10         Income Coverage who suffered a suspension of their business at the covered premises

11         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
12         other civil authorities.
13
                   E.      Extra Expense Breach of Contract Class: All persons and entities in the
14
           United States insured under a Hartford policy with Extra Expense Coverage who sought
15
           to minimize losses from the suspension of their business at the covered premises in
16

17         connection with COVID-19 and/or orders issued by Governor Inslee, other Governors,

18         and/or other civil authorities and whose Extra Expense claim was denied by Hartford.

19                 F.      Extra Expense Declaratory Relief Class: All persons and entities in the
20         United States insured under a Hartford policy with Extra Expense Coverage who sought
21
           to minimize losses from the suspension of their business at the covered premises in
22
           connection with COVID-19 and/or orders issued by Governor Inslee, other Governors,
23
           and/or other civil authorities.
24

25                 G.      Civil Authority Breach of Contract Class: All persons and entities in the

26         United States insured under a Hartford policy with Civil Authority Coverage who


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            suffered a suspension of their practice and/or extra expense at the covered premises
 1

 2          related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or

 3          other civil authorities and whose Civil Authority claim was denied by Hartford.

 4                  H.      Civil Authority Declaratory Relief Class: All persons and entities in the
 5
            United States insured under a Hartford policy with Civil Authority Coverage who
 6
            suffered a suspension of their practice at the covered premises related to COVID-19
 7
            and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities.
 8
            22.     Excluded from the Classes are Defendant’s officers, directors, and employees;
 9

10   the judicial officers and associated court staff assigned to this case; and the immediate family

11   members of such officers and staff. Plaintiff reserves the right to amend the Class definitions
12   based on information obtained in discovery.
13
            23.     This action may properly be maintained on behalf of each proposed Class under
14
     the criteria of Rule 23 of the Federal Rules of Civil Procedure.
15
            24.     Numerosity: The members of the Class are so numerous that joinder of all
16

17   members would be impractical. Plaintiff is informed and believes that the proposed Class

18   contains thousands of members. The precise number of class members can be ascertained

19   through discovery, which will include Defendant’s records of policyholders.
20          25.     Commonality and Predominance: Common questions of law and fact
21
     predominate over any questions affecting only individual members of the Class. Common
22
     questions include, but are not limited to, the following:
23
                    A.      Whether the class members suffered covered losses based on common
24

25          policies issued to members of the Class;

26


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                   B.      Whether Hartford acted in a manner common to the class and wrongfully
 1

 2         denied claims for coverage relating to COVID-19 and/or orders issued by Governor

 3         Inslee, other Governors, and/or other civil authorities;

 4                 C.      Whether Business Income Coverage in Hartford’s policies of insurance
 5
           applies to a suspension of practice relating to COVID-19 and/or orders issued by
 6
           Governor Inslee, other Governors, and/or other civil authorities;
 7
                   D.      Whether Extended Business Income Coverage in Hartford’s policies of
 8
           insurance applies to a suspension of practice relating to COVID-19 and/or orders issued
 9

10         by Governor Inslee, other Governors, and/or other civil authorities;

11                 E.      Whether Extra Expense Coverage in Hartford’s policies of insurance
12         applies to efforts to minimize a loss at the covered premises relating to COVID-19
13
           and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities;
14
                   F.      Whether Civil Authority Coverage in Hartford’s policies of insurance
15
           applies to a suspension of practice relating to COVID-19 and/or orders issued by
16

17         Governor Inslee, other Governors, and/or civil authorities;

18                 G.      Whether Hartford has breached its contracts of insurance through a

19         blanket denial of all claims based on business interruption, income loss or closures
20         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
21
           other civil authorities;
22
                   H.      Whether, because of Defendant’s conduct, Plaintiff and the class
23
           members have suffered damages; and if so, the appropriate amount thereof; and
24

25

26


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                        I.     Whether, because of Defendant’s conduct, Plaintiff and the class
 1

 2            members are entitled to equitable and declaratory relief, and if so, the nature of such

 3            relief.

 4            26.       Typicality: Plaintiff’s claims are typical of the claims of the members of the
 5
     classes. Plaintiff and all the members of the classes have been injured by the same wrongful
 6
     practices of Defendant. Plaintiff’s claims arise from the same practices and course of conduct
 7
     that give rise to the claims of the members of the Class and are based on the same legal theories.
 8
              27.       Adequacy: Plaintiff will fully and adequately assert and protect the interests of
 9

10   the classes and has retained class counsel who are experienced and qualified in prosecuting class

11   actions. Neither Plaintiff nor its attorneys have any interests contrary to or in conflict with the
12   Class.
13
              28.       Federal Rule of Civil Procedure 23(b)(1), the Risk of Inconsistent or
14
     Varying Adjudications and Impairment to Other Class Members’ Interests: Plaintiff seeks
15
     adjudication as to the interpretation, and resultant scope, of Defendant’s policies, which are
16

17   common to all members of the class. The prosecution of separate actions by individual members

18   of the classes would risk inconsistent or varying interpretations of those policy terms and create

19   inconsistent standards of conduct for Defendant. The policy interpretations sought by Plaintiff
20   could also impair the ability of absent class members to protect their interests.
21
              29.       Federal Rule of Civil Procedure 23(b)(2), Declaratory and Injunctive Relief:
22
     Defendant acted or refused to act on grounds generally applicable to Plaintiff and other
23
     members of the proposed classes making injunctive relief and declaratory relief appropriate on a
24

25   classwide basis.

26


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            30.       Federal Rule of Civil Procedure 23(b)(3), Superiority: A class action is
 1

 2   superior to all other available methods of the fair and efficient adjudication of this lawsuit.

 3   While the aggregate damages sustained by the classes are likely to be in the millions of dollars,

 4   the individual damages incurred by each class member may be too small to warrant the expense
 5
     of individual suits. Individual litigation creates a risk of inconsistent and/or contradictory
 6
     decisions and the court system would be unduly burdened by individual litigation of such cases.
 7
     A class action would result in a unified adjudication, with the benefits of economies of scale and
 8
     supervision by a single court.
 9

10                                     VI.    CAUSES OF ACTION

11                                  Count One—Declaratory Judgment

12             (Brought on behalf of the Business Income Coverage Declaratory Relief Class,
     Extended Business Income Declaratory Relief Class, Civil Authority Declaratory Relief Class,
13                         and Extra Expense Declaratory Relief Class)
14
            31.       Previous paragraphs alleged are incorporated herein.
15
            32.       This is a cause of action for declaratory judgment pursuant to the Declaratory
16
     Judgment Act, codified at 28 U.S.C. § 2201.
17

18          33.       Plaintiff Chorak brings this cause of action on behalf of the Business Income

19   Coverage Declaratory Relief Class, Extended Business Income Declaratory Relief Class, Civil

20   Authority Declaratory Relief Class, and Extra Expense Declaratory Relief Class.
21          34.       Plaintiff Chorak seeks a declaratory judgment declaring that Plaintiff Chorak and
22
     class members’ losses and expenses resulting from the interruption of their business are covered
23
     by the Policy.
24
            35.       Plaintiff Chorak seeks a declaratory judgment declaring that Hartford is
25

26   responsible for timely and fully paying all such claims.


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 1

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 3                                   Count Two—Breach of Contract

 4                (Brought on behalf of the Business Income Coverage Breach of Contract Class,
                  Extended Business Income Breach of Contract Class, Civil Authority Breach of
 5
                          Contract Class, and Extra Expense Breach of Contract Class)
 6
            36.      Previous paragraphs alleged are incorporated herein.
 7
            37.      Plaintiff Chorak brings this cause of action on behalf of the Business Income
 8
     Coverage Breach of Contract Class, Extended Business Income Breach of Contract Class, Civil
 9

10   Authority Breach of Contract Class, and Extra Expense Breach of Contract Class.

11          38.      The Policy is a contract under which Plaintiff Chorak and the class paid

12   premiums to Hartford in exchange for Hartford’s promise to pay plaintiff and the class for all
13   claims covered by the Policy.
14
            39.      Plaintiff Chorak has paid its insurance premiums.
15
            40.      Plaintiff submitted a claim to Hartford for the direct physical loss or damage to
16
     Plaintiff’s property covered under the Hartford policy related to COVID-19 and/or the
17

18   proclamations and orders; Hartford denied Plaintiff’s claim for coverage. On information and

19   belief, Hartford has denied coverage for other similarly situated policyholders.

20          41.      Denying coverage for the claim is a breach of the insurance contract.
21
            42.      Plaintiff Chorak is harmed by the breach of the insurance contract by Hartford.
22
                                     VII.    PRAYER FOR RELIEF
23
            1.       A declaratory judgment that the policy or policies cover Plaintiff’s losses and
24
     expenses resulting from the interruption of the Plaintiff’s business related to COVID-19 and/or
25

26   orders issued by Governor Inslee, other Governors, and/or other authorities.


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            2.      A declaratory judgment that the defendant is responsible for timely and fully
 1

 2   paying all such losses.

 3          3.      Damages.

 4          4.      Pre- and post-judgment interest at the highest allowable rate.
 5
            5.      Reasonable attorney fees and costs.
 6
            6.      Such further and other relief as the Court shall deem appropriate.
 7
                                   VIII. JURY TRIAL DEMANDED
 8
            Plaintiff demands a jury trial on all claims so triable.
 9

10          DATED this 24th day of April, 2020.

11

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                                            KELLER ROHRBACK L.L.P.
 1

 2                                          By: s/ Amy Williams-Derry ________________
 3                                          By: s/ Lynn L. Sarko
                                            By: s/ Ian S. Birk
 4                                          By: s/ Gretchen Freeman Cappio
                                            By: s/ Irene M. Hecht
 5                                          By: s/Maureen Falecki
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                                                Lynn L. Sarko, WSBA #16569
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21
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